Case 2:05-cr-20098-SH|\/| Document 30 Filed 07/22/05 Page 1 of 3 Pag/e§ 32

HUHJBY__“““_¢M;
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DIS'I'RICT OF TENNESSEBS JUL 22 PH |: 59
WESTER_N DIVISION

 

UNITED STATES OF AMERICA
Plaintiff,

v

§:oLGKFAV WEZQ»LQ

Criminal NO. Q§_- Z()Q?g Ml

(60-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

AS indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the August
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, SeDtember 23, 2005, with trial to take place
on the October, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through October 14, 2005. Agreed in

open court at report date this 22nd day Of July', 2005.

Thls document entered on the docket sheet ln compliance

with Hule 55 and/or 32(b) FHCrP on 7'22'~5'615 50

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30 oRDERED this 22nd day of July, 2005.

LMW.QQ

ON PHIPPS MCCALLA

M UNI ED STATES DIS'I'RICT JUDGE

MM//VUM

Assistant United States Attorney

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Counsel for Defendant(s)

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:05-CR-20098 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

Stephen C. Parker

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Honorable J on McCalla
US DISTRICT COURT

